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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                                     03-MD-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                   ORDER

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SARAH NETBURN, United States Magistrate Judge:

         The Court has received the proposal made by plaintiffs’ firm Cozen O’Connor for the

management of pending default judgments against the Taliban. ECF No. 7790. It has also

received that firm’s update to this proposal, ECF No. 7809, second update, ECF No. 7817, and

the responses from various firms to this proposal. ECF Nos. 7792, 7793, 7795, 7810, 7811. The

Court has determined that additional briefing on this question is not presently required.

Accordingly, no further papers are to be filed regarding this proposal absent leave of the Court.

SO ORDERED.



Dated: March 30, 2022
       New York, New York
